
55 N.Y.2d 951 (1982)
Board of Education of Cattaraugus Central School, Appellant,
v.
Cattaraugus Teacher's Association, Respondent.
Court of Appeals of the State of New York.
Decided February 11, 1982.
Peter K. Hulburt for appellant.
Bernard F. Ashe and Gunter Dully for respondent.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
On review of submissions pursuant to rule 500.2 (b) of the Rules of the Court of Appeals (22 NYCRR 500.2 [b]), order affirmed, with costs, for reasons stated in the memorandum at the Appellate Division.
